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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )
                                           )           8:04CR511
                    Plaintiff,             )
                                           )
      vs.                                  )            ORDER
                                           )
JAMEL A. PAYNE,                            )
                                           )
                    Defendant.             )

        Defendant’s motion to dismiss (Filing No. 89) is scheduled for hearing before the
undersigned magistrate judge at 9:00 a.m. on June 20, 2005, in Courtroom No. 7, Second
Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
        Counsel are reminded of the requirements of NECrimR 12.5 which provides as follows:

      Disclosure of Evidence. This rule applies to all evidentiary hearings on
      pretrial motions in criminal cases.

             (a)    Witnesses. At the time of the hearing, and to the extent
             reasonably possible, the parties shall submit to the judge and
             courtroom deputy a written list of all witnesses whom the parties
             expect to call.
             (b)    Exhibits. At least twenty-four (24) hours before the
             hearing, each party shall mark the exhibits that party intends to
             introduce into evidence at the hearing, and provide a copy to
             counsel for all other parties and to the presiding judge.

Exhibits should be marked as follows: government’s exhibits beginning at Number 1 and
defense exhibits beginning at Number 101.

       This being a criminal case, defendant must be present unless otherwise ordered by
the court.

      DATED this 14th day of June, 2005.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
